Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 1 of 11

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

CHAUNTAE BLAIR, on behalf of herself and
all those similarly situated Who consent to
representation, Civil Action No.:
Plaintiff, FLSA Collective Action
Jury Trial Dernanded
v. `

ATLANTA AIRPORT RESTAURANTS, LLC
d/b/a MALONE’S, a Georgia Corporation, and
ASHIQ A. DELAWALLA, an individual,

Defendants.

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FLSA COLLECTIVE ACTION COMPLAINT
COMES NOW Plaintiff Chauntae Blair, (hereinafter “Plaintii`i”) by and
through her undersigned counsel, and files this lawsuit against Defendants Atlanta
Airport Restaurants, LLC d/b/a Malone’s, a Georgia Corporation (hereinafter
“Defendant Malone’s”) and Ashiq A. DelaWalla, an individual (hereinafter
“Defendant DelaWalla”) (collectively “Defendants”) on behalf of herself and all
others similarly situated, pursuant to § 216(b) of the F air Labor Standards Act of

193 8, and in support thereof Would further state as follows:

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 2 of 11

INTRODUCTI()N

l. The instant action arises from Defendants’ violations of Plaintiffs
rights under the Fair Labor Standards Act, 29 U.S.C. §§ 201, LSAL, as amended
(hereinafter “FLSA”), and specifically the collective action provisions of the FLSA
found at § 216(b) to remedy violations of the minimum hourly Wage provisions of
the FLSA by Defendants Which have deprived Plaintiff, as Well as others similarly
situated to Plaintiff, of their lawhil minimum hourly Wages.

2. Plaintiff brings this action as a collective action on behalf of herself
and all other similarly situated employees Who consent to representation, pursuant
to 29 U.S.C. § 216(b) and Who Were tipped employees of Defendants and paid less
than the federal minimum hourly Wage and from Whom Defendants took a tip
credit.

3. Plaintiff Was employed by Defendants as a server at Defendants’
restaurant, Defendant Malone’s, located at 125 8 Virginia Avenue, East Point,
Georgia 30344.

4. Defendants employed Plaintiff from October 2015 through

approximately February 2017.

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 3 of 11

5. This action is brought to recover-unpaid minimum hourly Wages owed
to Plaintiff and other current and former employees of Defendants Who are
similarly situated to Plaintiff, pursuant to the FLSA.

6. Other current and former employees of Defendants are also entitled to
receive minimum hourly Wage for the reasons alleged in this Complaint Plaintiff
may be permitted to maintain this action “for and on behalf of [her]self . . . and
other employees similarly situated.” 29 U.S.C. § 216(b). Any similarly situated
current or former employee of Defendants Wishing to become a party plaintiff to
this action must provide “his consent in Writing to become such a party,” and such
consent must be filed With this Court. 29 U.S.C. § 216(b).

7. Plaintiff and any collective group similarly situated Were or are
employed by Defendants Working at various times during their employment by
Defendants as servers, bussers or any other position from Whom Defendants took a
tip credit.

8. During the employment of Plaintiff, and for at least three years prior
to the filing of this Complaint in the case of any collective group similarly situated,
Defendants committed violations of the FLSA by failing to compensate employees

at the legally appropriate minimum hourly Wage, by requiring Plaintiff and those

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 4 of 11

similarly situated to Work “off the clock,” and by requiring Plaintiff and those
similarly situated to participate in an improper tip pool in violation of the FLSA.

9. Plaintiff and all similarly situated current and former employees of
Defendants Who elect to participate in this action seek unpaid minimum hourly
Wage for Work performed, an equal amount of liquidated damages, attonieys’ fees,
costs, and other appropriate relief pursuant to 29 U.S.C. § 216(b).

JURISDICTION AND VENUE

10. This Court has subject matter jurisdiction over this action pursuant to
28 U.S.C. § 1331 (federal question jurisdiction)7 and 29 U.S.C. § 216(b) (FLSA).

11. Venue is proper in the Northern District of Georgia under 28 U.S.C.
§ 1391 (a) and (c) because a substantial part of events or omissions giving rise to
the claims occurred Within the jurisdiction of this Court and because Defendants
are located in this District and are subject to personal jurisdiction in this District.

PARTIES

12. Plaintiff resides in College Park, Georgia (Within this District).

13. At all times material to this action, Plaintiff Was an “employee” of
Defendants defined by § 203 (e)(l) of the FLSA, and Worked for Defendants Within
the territory of the United States. Plaintiff is further covered by §§ 203, 206, and

207 of the FLSA for the period in Which she Was employed by Defendants.

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 5 of 11

14. At all times material to this action, any collective group similarly
situated to Plaintiff were “employees” of Defendants defined by § 203(e)(l) of the
FLSA, and worked for Defendants within the territory of the United States. These
same individuals are further covered by §§ 203, 206, and 207 of the FLSA for the
period in which they were employed by Defendants.

15. Defendant Malone’s is a corporation formed in the state of Georgia
and is owned by Defendant Delawalla.

16. Defendants conduct business within this State and District.

17. Defendants maintained either actual or constructive control, oversight
and direction of Defendants’ restaurant, including the employment and pay and
other practices of that operation.

18. Defendant Malone’s is subject to personal jurisdiction in the state of
Georgia for purposes of this lawsuit and can be served through its registered agent,
Ashiq A. Delawalla, 6065 Gakbrook Parkway, Norcross, Georgia 30093.

19. Defendant Delawalla is subject to personal jurisdiction in the state of
Georgia for purposes of this lawsuit and can be personally served at 6065
Oakbrook Parkway, Norcross, Georgia 30093.

20. At all times relevant to this action, Defendant Malone’s was an

enterprise engaged in commerce or in the production of goods for commerce as

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 6 of 11

defined by § 203 of the FLSA, and had an annual gross volume of sales which
exceeded $500,000.

21..» At all times relevant to this action, Defendants were an "employer" of
Plaintiff and of others similarly situated, as defined by § 203(d) of the FLSA.

22. The tipped employee provisions set forth in § 203 of the FLSA apply
to Defendants.

23. The minimum hourly wage provisions set forth in § 206 of the FLSA
apply to Defendants.

FACTUAL ALLEGATI()NS

24. Upon information and belief, Defendants employed, in the past three
years prior to the filing of this Complaint other individuals who received tips as
part of their compensation and for whom Defendants took a tip credit.

25. Plaintiffs duties and the duties of other current and former employees
similarly situated of Plaintiff at Defendants’ restaurant included servicing
customers, taking food and drink orders, serving food and drink orders, clearing
tables, attending mandatory shift meetings, and “side work” before and after each
shift.

26. Defendants required Plaintiff and those similarly situated employees

to attend company meetings prior to each shift but Defendants failed to

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 7 of 11

compensate the employees for the time spent in attendance of these required
meetings

27. Defendants required Plaintiff and those similarly situated employees
to work “side work” prior to and after each shift and failed to compensate the
employees at a rate of the federally required minimum wage for such work.

28. At all times relevant to this action, it was the policy and/or practice of
Defendants to compensate Plaintiff and other current and former employees
similarly situated of Defendants’ restaurant an hourly wage of $2. 13 per hour plus
tips.

29. At all times relevant to this action, it was the policy and/or practice of
Defendants to compensate Plaintiff and other current and former employees
similarly situated for less hours than they actually worked in violation of the
FLSA.

30. At all times relevant to this action, Plaintiff and other current and
former employees similarly situated of Defendants’ restaurant did not retain all tips
they received by requiring such employees to participate in a tip pool whereby
employees were required to place a percentage of their acquired tips each shift into

a tip pool.

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 8 of 11

3l. At all times relevant to this action, however, Defendants retained a
portion of the tips from the tip pool.

32. At all times relevant to this action, the Defendants took a tip credit
against the wages of Plaintiff and those similarly situated.

33. At all times relevant to this action, Defendants maintained an invalid
tip pool with respect to Plaintiff and those similarly situated

34. Defendants are liable to Plaintiff and other current and former
employees similarly situated for compensation for all time worked in which they
were paid at a rate of pay less than the federal minimum wage rate.

35 . By reason of the said intentional, willful and unlawful acts of
Defendants, Plaintiff and other current and former employees similarly situated
suffered damages plus incurring costs and reasonable attorneys’ fees.

36. As a result of Defendants’ willful violations of the FLSA, Plaintiff
and other current and former employees similarly situated are entitled to liquidated
damages.

37 . Plaintiff has retained the undersigned counsel to represent her and
other current and former employees similarly situated in this action, and pursuant
29 U.S.C. § 216(b), Plaintiff and other employees similarly situated are entitled to

recover all reasonable attorneys' fees and costs incurred in this action.

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 9 of 11

38. Plaintiff demands a jury trial.
C()UNT I

39. Plaintiff repeats and incorporates by reference paragraphs 1- 38
herein.

40. By its actions alleged herein, Defendants willfully, knowingly and/or
recklessly violated the FLSA provisions and corresponding federal regulations

41. Defendants have willfully, intentionally, and/or recklessly engaged in
a widespread pattern and practice of violating the provisions of the FLSA, as
detailed herein, by failing to properly pay minimum wage compensation to current
and former employees of Defendant’s restaurant, including Plaintiff and other
similarly situated employees, in accordance with §§ 203 and 206 of the FLSA.

42. As a result of Defendants’ violations of the FLSA, Plaintiff, as well as
other similarly situated employees have suffered damages by failing to receive
minimum wage compensation in accordance with §§ 203 and 206 of the FLSA.

43. Defendants have not made a good faith effort to comply with the
FLSA with respect to their compensation of Plaintiff and other similarly situated
current and former employees of Defendants’ restaurant

44. As a result of the unlawful acts of Defendants, Plaintiff and similarly

situated current and former employees have been deprived of minimum wage

Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 10 of 11

compensation in an amount to be determined at trial, and are entitled to recovery of
such amounts, liquidated damages, attorneys' fees, costs and other relief.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff, individually and on behalf of all other similarly
situated persons who will opt-in to this action, pursuant to § 216(b) of the FLSA,
prays for the following relief:

A. Certification of a class and any necessary sub-classes pursuant to 29
U.S.C. § 216(b) to be described as and to include any and all employees from
whom Defendants took a tip credit at Defendants’ restaurant within three years of
the filing of this Complaint;

B. That, at the earliest possible time, Plaintiff be allowed to give Notice of
this action, or that the Court issue such Notice, to all persons who have at any time
during the three years immediately preceding the filing of this suit, up through and
including the date of this Court's issuance of Court-supervised Notice. Such
Notice shall inform them that this civil action has been filed and of the nature of
the action, and of their right to opt into this lawsuit;

C. That Plaintiff and all individuals who opt into this lawsuit (“opt-in

Plaintiffs”) be awarded damages for the three years preceding the filing of this

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Case 1:17-cv-01297-ELR Document 1 Filed 04/11/17 Page 11 of 11

Complaint in the amount of their respective unpaid compensation, plus an equal
amount of liquidated damages;

D. That Plaintiff and all opt-in Plaintiffs be awarded reasonable attorneys'
fees;

E. That Plaintiff and all opt-in Plaintiffs be awarded the costs and expenses
of this action; and

F. That Plaintiff and all opt-in Plaintiffs be awarded such other, further
legal and equitable relief, including, but not limited to, any injunctive and/or
declaratory relief to which they may be entitled.

Respectfully submitted this llth day of April, 2017.

MARTIN & MARTIN, LLP

By= MM/ \/)\/WMA/

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